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United States District Court, District of Maryland
Carrasco v. M&T Bank
Case No.: 1:21-cv-00532
                                               EXHIBITS:

    Exhibit   ECF    Upload      Description
    No.       No.    Date
    1         1-2    3/2/2021    The Account Activation Letter

    2         1-3    3/2/2021    Debt Collection Letter, Dated November 5, 2020

    3         1-4    3/2/2021    Credit Agreement

    4         1-5    3/2/2021    Online Advertisement by M&T

    5                [N/A]       [reserved]

    6         15-1   3/23/2021   Account activation letter, colorized

    7         15-2   3/23/2021   Equifax Credit Report Dated 3/22/2021

    8         15-3   3/23/2021   M&T Bank Visa Credit Account Payoff Certificate – Dated 3/23/2021

    9         15-4   3/23/2021   Amerisave Mortgage Credit Score disclosure report dated 7/16/2021

    10        15-5   3/23/2021   M&T Bank Visa Credit Card Agreement

    11        15-6   3/23/2021   Dispute notice sent to M&T Bank dated 12/30/2020. M&T confirmed receipt
                                 of the dispute notice on 12/31/2020. Emails are included at the end of the
                                 exhibit.
    12        16-1   3/23/2021   Emails all.

    13        16-2   3/23/2021   Transunion credit report dated 2/19/2021

    14        16-3   3/23/2021   M&T Customer Profile for Bryce Carrasco.

    15        16-4   3/23/2021   M&T Account Profile for credit card account ending 6414.

    16        17-2   3/23/2021   M&T Credit Card Application, Original Document.

    17        21-1   3/25/2021   Experian Credit Report Dated 3/25/2021

    18        21-2   3/25/2021   Experian Dispute Result Dated 1/7/2021

    19        21-3   3/25/2021   CFPB Complaint and M&T Responses

    20        21-4   3/25/2021   All Debt Collection Letters

    21               4/6/2021    Experian Disputes




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    Date Filed       #   Attach.   Docket Text
    03/02/2021   1                 COMPLAINT against M&T Bank, filed by Bryce Carrasco.
                         1-1       # 1 Civil Cover Sheet
                         1-2       # 2 Exhibit 1
                         1-3       # 3 Exhibit 2
                         1-4       # 4 Exhibit 3
                         1-5       # 5 Exhibit 4
                         1-6       # 6 Signed Complaint
                         1-7       # 7 Civil Cover Sheet Signed
    03/03/2021   2                 MOTION to File Papers Electronically by Bryce Carrasco
    03/03/2021   3                 Proposed Summons re 1 Complaint by Bryce Carrasco
    03/03/2021   4                 Jury Trial Demand by Bryce Carrasco (originally received 3/2/2021)
    03/03/2021   5                 MARGINAL ORDER Granting 2 Motion to File Papers Electronically. Signed
                                   by Judge Stephanie A. Gallagher on 3/3/2021
    03/04/2021   6                 ORDER Directing Clerk to take all necessary steps to issue summons and to
                                   return summons to Plaintiff. Signed by Judge Stephanie A. Gallagher on
                                   3/4/2021
    03/04/2021   7                 Summons Issued 21 days as to M&T Bank
    03/05/2021   10                SUMMONS Returned Executed by Bryce Carrasco. M&T Bank served on
                                   3/4/2021, answer due 3/25/2021
                         10-1      # 1 Attachment Summons
                         10-2      # 2 Attachment Complaint
    03/19/2021   11                NOTICE of Appearance by Brian L Moffet on behalf of M&T Bank
    03/19/2021   12                NOTICE of Appearance by Michael Benjamin Brown on behalf of M&T Bank
    03/19/2021   13                MOTION for Extension of Time to Respond to Complaint by M&T Bank
                                   (Attachments: # 1 Text of Proposed Order)(Moffet, Brian)
                         13-1      # 1 Text of Proposed Order
    03/19/2021   14                RESPONSE in Opposition re 13 MOTION for Extension of Time to Respond to
                                   Complaint and maintain original due date filed by Bryce Carrasco.
    03/23/2021   15                Proposed Exhibit List Bryce Carrasco, (Carrasco, Bryce)
                         15-1      # 1 Exhibit 6. Supplementing exhibit 1.Account activation letter, colorized.(for
                                   readability)
                         15-2      # 2 Exhibit 7. Equifax credit report dated 3/22/2021.
                         15-3      # 3 Exhibit 8. Credit Card Payoff Certificate.,
                         15-4      # 4 Exhibit 9. Amerisave credit score disclosure for undistorted credit profile.,




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    Date Filed    #   Attach.   Docket Text
                      15-5      # 5 Exhibit 10. Supplementing Ex. 3. M&T Bank Visa Credit Card Agreement,
                                colorized(for readability)
                      15-6      # 6 Exhibit 11. Dispute notice letter sent to M&T Bank dated 12/30/2020 with
                                associated email communications in connection therewith.)
    03/23/2021   16             Proposed Exhibit List part 2 by Bryce Carrasco
                      16-1      # 1 Exhibit 12. Emails all
                      16-2      # 2 Exhibit 13. Transunion credit report dated 3/19/2021
                      16-3      # 3 Exhibit 14. M&T Customer Profile
                      16-4      # 4 Exhibit 15. M&T Account Profile.
    03/23/2021   17             Proposed Exhibit List part 3 by Bryce Carrasco
                      17-1      # 1 Cover Letter Description of exhibit 16
                      17-2      # 2 Exhibit 16. Credit Card application retrieved from branch visit on 3/23/2021
                                to Severna Park M&T Bank office
    03/23/2021   18             Memorandum re 13 MOTION for Extension of Time to Respond to
                                Complaint in further opposition to extension filed by Bryce Carrasco.(Carrasco,
                                Bryce) (Entered: 03/23/2021)
    03/23/2021   19             Supplemental MOTION to seal certain documents re 16 Proposed Exhibit
                                List, documents 16-1 and 16-3 by Bryce Carrasco(Carrasco, Bryce)
    03/24/2021   20             ORDER granting in part 13 Motion for Extension of Time for M&T to respond
                                to the Complaint to April 2, 2021. Signed by Judge Stephanie A. Gallagher on
                                3/24/2021.
    03/25/2021   21             Proposed Exhibit List part 4 by Bryce Carrasco
                      21-1      # 1 Exhibit 17. Experian Credit Report Dated 3/25/2021
                      21-2      # 2 Exhibit 18. Experian Dispute Investigation Report Dated 1/7/2021
                      21-3      # 3 Exhibit 19. CFPB Complaint and M&T Responses
                      21-4      # 4 Exhibit 20. Debt Collection Letters All
    04/02/2021   22             MOTION to Dismiss by M&T Bank
                      22-1      # 1 Memorandum in Support
                      22-2      # 2 Exhibit
                      22-3      # 3 Exhibit,
                      22-4      # 4 Text of Proposed Order
    04/02/2021   23             Rule 12/56 notice mailed to Bryce Carrasco
    04/02/2021   24             MOTION to Strike 22 MOTION to Dismiss by Bryce Carrasco




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